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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

KIMBERLY A. WHEELER,

Plaintiff,

V. . Case No. 3:20-cv-141
MIAMI VALLEY CAREER JUDGE WALTER H. RICE
TECHNOLOGY CENTER,

Defendant.

 

DECISION AND ENTRY ADOPTING UNITED STATES MAGISTRATE
JUDGE’S REPORT AND RECOMMENDATIONS (DOC #12);
OVERRULING DEFENDANT'S MOTION TO DISMISS (DOC. #10);
AND SUSTAINING PLAINTIFF’S REQUEST FOR LEAVE TO FILE AN
AMENDED COMPLAINT (DOC. #11)

 

Based on the reasoning and citations of authority set forth by United States
Magistrate Judge Sharon L. Ovington in her Report and Recommendations, as
well as upon a thorough de novo review of this Court's file and the applicable law,
the Court adopts said judicial filing, Doc. #12. Although the parties were notified
of their right to file objections to the Report and Recommendations, and of the
consequences of failing to do so, no objections were filed within the time allotted.
The Court overrules Defendant's Motion to Dismiss, Doc. #10, and sustains

Plaintiff's request for leave to file an Amended Complaint Doc. #11.'

 

' Plaintiff filed her Amended Complaint on September 11, 2020.
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WALTER H. RICE
UNITED STATES DISTRICT JUDGE

 

Date: January 11, 2021
